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                         THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OKLAHOMA

            1. HOLLI R. DAVENPORT                       )
            an individual                               )
                           Plaintiff                   ) Case no. 15-cv-512-JED-PJC
                                                        )
            v                                           )      Jury Trial
            Demanded                                    )
                                                        )
            2. OKLAHOMA STATE                           )
            UNIVERSITY MEDICAL                          )
            TRUST                                       )
                  Defendant

                           MOTION FOR DEFAULT BY THE CLERK

            COMES NOW, the Plaintiff by and through her attorney of record and asks the

     Clerk of the court to enter default against the above named Defendant pursuant to

     Federal Rules of Civil Procedure 55(a). In support of this Motion the Plaintiff shows

     as follows:

        1. The Plaintiff filed her complaint on September 2nd 2015 and amended the

            complaint to change the name of the Defendant on November 21st 2015

        2. Summons was issued by the clerk for the United States District Court for the

            Northern District of Oklahoma on November 23rd 2015.

        3. That said summons was served certified mail restricted delivery return

            receipt requested by the United States Postal Service on November 25th 2015

            to the apparent Chief Executive Officer of the organization. The Defendant

            had no registered agent in the state at the time.

        4. That said summons was returned properly executed and filed with this court

            on the February 4th 2016.
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        5. That the Defendant has failed to plead or otherwise defend its case as

           allowed by these rules.

        6. Plaintiff’s counsel affirms that the Defendant is not an infant and is

           competent to participate in these proceedings; nor is the defendant a

           member of any of the military services.

           WHERFORE, the Plaintiff prays that the Clerk of Court enter default against

           the Defendant in this action.


                                                Respectfully submitted

                                                /s/ David Blades
                                                __________________________
                                                DAVID R. BLADES OBA 15187
                                                ARMSTRONG & VAUGHT PLC
                                                2727 EAST 21ST STREET STE 505
                                                (918) 582-2500
